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UNITED STATES DISTRICT COURT
                                                                                              10/20/20
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–
                                                                      15-cr-95 (AJN)
  Dante Stephens,
                                                                         ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:
       A sentencing in this matter is scheduled for October 20, 2020 at 3 p.m. The proceeding

will be conducted by videoconference using the Skype for Business platform. The Court has

separately provided the parties with instructions for accessing this platform. At 3 p.m. on
October 20, members of the public may access audio for the proceeding by calling (917) 933-

2166 and entering Conference ID number 362666303.

       SO ORDERED.
 Dated: October 20, 2020
        New York, New York                         ____________________________________
                                                            ALISON J. NATHAN
                                                          United States District Judge
